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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 AMERICAN CRUISE LINES, INC.,            )
                                         )
                      Plaintiff,         )
                                         )
        v.                               )   C.A. No. 13-324 (RGA)
                                         )
 HMS AMERICAN QUEEN STEAMBOAT            )
 COMPANY LLC and AMERICAN QUEEN          )
 STEAMBOAT OPERATING COMPANY,            )
 LLC,                                    )
                                         )
                      Defendants.        )

                   AMERICAN CRUISE LINES, INC.’S REPLY BRIEF
                       IN SUPPORT OF ITS CROSS-MOTION
                      FOR PARTIAL SUMMARY JUDGMENT


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 I.     THE AMERICAN QUEEN MARKS’ OWNER FAILED TO FILE A SOU

        American Cruise Lines (“American”) has set out the facts of the history ownership of the

 AMERICAN QUEEN marks in detail. D.I. 217 at 18–20. 1 The “intent to use” (“ITU”) applica-

 tions for the marks were filed on March 26, 1993, by a Delaware corporation originally named

 DQSC, Inc. (“DQSC-1”). 2 D.I. 218, Ex. 121. DQSC-2, Inc. 3 was incorporated later (July 26,

 1993) and, after changing its name to “The Delta Queen Steamboat Co.” on May 17, 1994

 (D.I. 220, Ex. 150 at ¶ 6), it purported to assign the marks and registrations to Delaware North in

 May 2002. Xu 4th Dec. Ex. 168. But there is no record the applicant, DQSC-1, assigned the

 AMERICAN QUEEN marks or applications to the purported subsequent assignor, DQSC-2. See

 15 U.S.C. §1060(a)(3).

        In response to American’s evidence that DQSC-2 had no registration rights to assign to

 Delaware North, AQSC claims that “it is not too late to file appropriate assignments…or other-

 wise take action to correct defects in the chain of title….” D.I. 233 at 19. This is not correct.

        The Lanham Act, 15 U.S.C. §1051(d), provides specified time periods within which “the

 applicant shall file” a verified statement of use (“SOU”) in commerce of a mark for which an

 ITU application is filed. The party filing the SOU must be the owner of the mark at the time of

 filing and the filing by the true owner must occur before the statutory deadline, or the application

 is abandoned. TMEP (January 2017) §1109.10; In re Columbo, Inc., 33 U.S.P.Q.2d 1530, 1994

 WL 752102 (Com’r Pats. 1994) (application held abandoned where officer of assignor of mark

 signed SOU on behalf of assignor instead of assignee of which he was also an officer).

        The SOU for the AMERICAN QUEEN marks was filed on September 11, 1995, in the

 1
   A timeline of the history has been provided for the Court’s convenience. Xu 4th Dec. Ex. 169.
 2
   DQSC-1 was assigned File # 2064617 by the Secretary of State of Delaware. On 3/26/1993
 DQSC-1 was named The Delta Queen Steamboat Co. Kraftschik Dec. ¶¶ 4, 11.
 3
   DQSC-2, Inc. was assigned File # 2345157 by the Secretary of State of Delaware. DQSC-2 was
 named The Delta Queen Steamboat Co. on 9/11/1995. Kraftschik Dec. ¶¶ 12, 18.



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 name of “Delta Queen Steamboat Company,” which was formerly DQSC-2. D.I. 220, Ex. 152.

 This corporation was not the applicant and not the owner of record of the applications.

        As per the forms 10-K filed by American Classic Voyages Co., Inc, the publicly-held

 successor in name to DQSC-1 (renamed in 1994) (Kraftschik Dec. ¶ 11), there was no merger or

 other transaction between the applicant for the marks, DQSC-1, and DQSC-2, or any successor

 of it in name or otherwise, by which the marks and their registration applications could have

 been acquired by DQSC-2. Xu 4th Dec. Ex. 170; D.I. 218, Ex. 68, 69, 76. The records of the

 Delaware Secretary of State are to the same effect. Kraftschik Dec. ¶ 2.

        Thus, either (a) the AMERICAN QUEEN mark applications were assigned prior to the

 filing of the SOU on September 11, 1995, in a transaction which violated 15 U.S.C. §1060(a)(1)

 because it was not “an assignment to a successor to the business of the applicant…if that busi-

 ness is ongoing and existing;” or (b) the SOU was filed in violation of 15 U.S.C. §1051(d)(1) by

 a successor to DQSC-2, which was not the applicant for the marks or a valid assignee. In either

 case, the action was invalid, the registrations for the marks were irrevocably abandoned, and the

 registrations became void. See In re Columbo, Inc., supra; Central Garden & Pet Co. v. Doskocil

 Mfg. Co., 108 USPQ2d 1134, 1146 (TTAB 2013); Sebastian Brown Prods., LLC v. Muzooka

 Inc., 15-CV-01720-LHK, 2016 WL 949004 (N.D. Cal. 2016). That the AMERICAN QUEEN

 marks are “incontestable” under 15 U.S.C. §1065 does not prevent cancellation on this basis.

 Fed. Treasury Enter. Sojuzplodoimport v. Spirits Intern., 623 F.3d 61, 69–70 (2d Cir. 2010).

        AQSC attempts to block proof of the defect in its claimed rights in the AMERICAN

 QUEEN marks by asserting that American’s argument and supporting public records are too late.

 D.I. 233 at 17. This contention is incorrect. American raised as an affirmative defense that

 AQSC “failed to acquire trademark rights in the AMERCAN QUEEN marks as alleged” and that

 “the AMERICAN QUEEN mark registrations are not valid” in its Answers to Counterclaims



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 filed by AQSC, including as early as July 8, 2013. D.I. 24, 34, 103, 159.

        As shown by AQSC’s Exhibit 15, AQSC’s requests for documents related to American’s

 many affirmative defenses were overly broad, vague, and unduly burdensome, and American

 properly objected on that basis. American relied on public documents that are equally available

 to AQSC, are not proper subjects of discovery, and most were acquired only for purposes of

 these motions. Dushkin Pub. Grp., Inc. v. Kinko’s Serv. Corp., 136 F.R.D. 334, 335 (D. DC

 1991). AQSC chose never to ask American interrogatories relating to American’s affirmative

 defenses.
 II.    AMBASSADORS ABANDONED THE AMERICAN QUEEN MARKS

        AQSC misstates American’s argument that the AMERICAN QUEEN marks were not

 used for three years. 15 U.S.C §1127 defines “use” for purposes of the definition of abandon-

 ment. That definition is word for word the same as the definition of “use in commerce,” also

 found in §1127, which in turn requires that “the services are rendered in commerce….” See

 D.I. 217 at 23–24. Aycock Eng’g, Inc. v. Airflite, Inc., 560 F.3d 1350, 1360 (Fed. Cir. 2009),

 makes clear:
           [A]n applicant’s preparations to use a mark in commerce are insufficient
           to constitute use in commerce. Rather, the mark must be actually used in
           conjunction with the services described in the application for the mark.


        AQSC’s claim that the standards for “use” for initial registration of a mark are different

 than those required by the definition of abandonment is directly rebutted by the use of identical

 words in §1127. AQSC’s claim that the Aycock court held “an open and notorious public offering

 of the services” would be sufficient is directly refuted by that Court in Couture v. Playdom, Inc.,

 778 F.3d 1379, 1381 (Fed. Cir. 2015) (“But we did not suggest in Aycock that an open and

 notorious public offering alone is sufficient to establish use in commerce.”). D.I. 233 at 3, n.2.

        Neither AQSC nor MARAD rendered the services of “transporting passengers and goods




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 by steamers” or “hotel, restaurant and bar services provided aboard a riverboat” from November,

 2008 until April 2012, a period of over three years. D.I. 217 at 25. The mark was not used for

 this period. The burden under 15 U.S.C. §1127 shifts to AQSC.

        AQSC claims that the AMERICAN QUEEN marks passed to MARAD along with the

 vessel in November 2008. D.I. 233 at 4–5. But the law AQSC cites is inapposite. Ambassadors

 did not transfer title to the vessel to the U.S. Government (MARAD), MARAD took title to the

 vessel from the U.S. Marshal following the foreclosure auction. D.I. 217 at 10; D.I. 219, Ex. 104,

 132; 46 U.S.C. §31326; Rule E, Supp. R. Admiralty, FRCP. MARAD did not acquire the marks

 or use them; MARAD used the term American Queen only as the vessel’s name. See D.I. 217 at

 10–11, 28–30. Ambassadors understood it had not transferred the vessel’s marks to MARAD, in

 2010 Ambassadors assigned those marks to its lenders as additional collateral. Xu 4th Dec.

 Ex. 171–72. 4 AQSC can cite no authority applying the “automatic transfer rule” invoked by it on

 facts like those found here. Cf. B.F. Goodrich Co. v. A.T.I Caribe, Inc., 366 F. Supp. 464, 470

 (D. Del. 1973).

        AQSC’s intention to use the AMERICAN QUEEN marks is not relevant to the issue of

 abandonment. If the intent of a party acquiring an asset with which a mark had been associated

 resolved the issue of whether the mark was abandoned, no such mark would ever be abandoned,

 regardless of the duration of non-use. Incontestability is subject to proof that “the mark has been

 abandoned by the registrant.” 15 USC §1115(b)(2). Policy reasons to interpret the statute to

 include the intent of creditors of a mark’s owner are set out by Professor McCarthy, D.I. 217 at

 31–32. Accordingly, in Cash Processing Serv. v. Ambient Entm’t, Inc., 418 F. Supp. 2d 1227,

 4
   AQSC also states that Ambassadors was no longer the owner of the goodwill associated with
 the vessel’s marks once the American Queen was surrendered to MARAD. D.I. 233 at 4. This
 means the February 25, 2011 Assignment Agreement, D.I. 171, Ex. 25, was an invalid assign-
 ment in gross. Berni v. Int’l Gourmet Rest., Inc., 838 F.2d 642, 646 (2d Cir.1988); Premier
 Dental Prod. Co. v. Darby Dental Supply Co., 794 F.2d 850, 853 (3d Cir.1986).



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 1234 (D. Nev. 2006), the decision turned on the intent of the Government, which was a creditor

 taking title to the trademarks under an Order of Forfeiture, not the intent of the purchaser, CPS. 5

          AQSC’s reliance on claimed common law rights to the AMERICAN QUEEN marks is

 unavailing as AQSC has failed to show “clear entitlement to protection of its trademark in a

 particular market.” Lucent Info. Mgmt., Inc. v. Lucent Techs., Inc., 186 F.3d 311, 316–17 (3d Cir.

 1999). AQSC has provided no evidence of market penetration of its mark in any geographic area

 sufficient to warrant protection under the Third Circuit’s test, and specifically not as of 1999

 when American first began to use its AMERICAN EAGLE mark nationally. Id. Fundamentally,

 AQSC has failed to show that the name “American Queen” has been used as a trademark to

 identify a source of services and not simply used to identify a vessel. Use of a name to identify

 an instrument used in the performance of the service rather than a service itself is not trademark

 use. 6

          To achieve status as a trademark, a name must be used in such manner that its nature and

 function as a trademark are readily apparent and recognizable without analysis. In MicroStrate-

 gy, Inc. v. Motorola, Inc., 245 F.3d 335, 341–42 (4th Cir. 2001), the court found no trademark

 use where the name was listed within hundreds of pages of brochures, press releases, and news-

 paper articles but was not used to identify and distinguish a source of services. The name was

 often used with a house mark (i.e. tradename), was used without a design, was presented in no

 particular sequence, was often buried in detail text, was not set off in some manner (e.g. large

 size, distinctive font, typeset), and was not labeled with “TM.” Id. at 341–42. Similarly here,

 5
   The Court’s reference to CPS’s intent not to abandon the mark applied to only the period since
 October 2003, “the relatively short period of time CPS has had an interest in the mark.” Id.
 6
   See In re Oscar Mayer & Co. Inc., 171 U.S.P.Q. 571 (TTAB 1971) (no trademark use;
 WIENERMOBILE identifies a only a vehicle used in rendering services, not the services
 claimed); In re Editel Prods., Inc. 189 U.S.P.Q 111 (TTAB 1975) (no trademark use; “MINI-
 MOBILE #1” used only to identify a vehicle which applicant uses in the performing of its ser-
 vice).



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 AQSC’s 2011 advertisements show prominently the brand mark “Great American Steamboat

 Company” with design and set off by size and font while listing the name “American Queen”

 only within text or painted on the vessel’s stern, as required by Coast Guard regulations. Xu 4th

 Dec. Ex. 173–81. AQSC cannot show that the vessel name “American Queen” was used to

 penetrate markets as a trademark.

        Even if AQSC could prove market penetration, it still cannot satisfy the continuing use

 requirement under 15 U.S.C. §1065 to avoid American’s incontestable national rights in its

 “American” vessel marks. Xu Dec. Ex. 19–22; Xu 4th Dec. Ex. 182–84. To meet the “continuing

 use” requirement under §1065, “the use [of the common law mark] must be maintained without

 interruption.” Casual Corner Assoc. v. Casual Stores of Nevada, Inc., 493 F.2d 709, 712 (9th

 Cir. 1974) (finding non-use for one year negates defense). Here, it is undisputed that there were

 three separate instances of non-use of the AMERICAN QUEEN marks for more than a year.
 III.   AQSC CANNOT PROVE FRAUDULENT PROCUREMENT

        AQSC cannot meet its burden of proving fraud. “[F]raud requires proof of a willful intent

 to deceive. Marshak v. Treadwell, 58 F. Supp. 2d 551, 566 (D.N.J. 1999). Although such intent

 can be inferred from indirect and circumstantial evidence, “such evidence must still be clear and

 convincing.” Covertech Fabricating, Inc. v. TVM Bldg. Prods., 124 F. Supp. 3d 489, 541–42 (W.

 D. Pa. 2015). Unlike court decisions cited by AQSC, this matter involves non-identical marks, a

 registered mark presumptively known by the PTO, no clearly false statement, and ongoing litiga-

 tion where the mark ownership is contested and the PTO has been apprised of the marks in issue.

 AQSC’s claim that knowledge of confusion between the companies supports an inference of

 willful intention to deceive the PTO is without merit and is insufficient to sustain a fraud claim.
 IV.    CONCLUSION

        For the foregoing reasons, Plaintiff requests that its cross-motion for partial summary

 judgment be GRANTED and AQSC’s motion for partial summary judgment be DENIED.


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